     Case 3:13-cr-00134-CRS Document 1 Filed 10/01/13 Page 1 of 6 PageID #: 1



                                                                                           OCT 0 1 2013-
                               UNITED STATES DISTRICT COURT
                               WESTERN DISTRICT OF KENTUCKY
                                       AT LOUISVILLE

UNITED STATES OF AMERICA
                                                                INDICTMENT

v.                                                      NO.

                                                                18 U.S.C. § 1001(a)
GLENN A. CAPLE


                                            BACKGROUND

        1.   At all times relevant to this indictment, the defendant, GLENN A. CAPLE

("CAPLE") was the chief of police for the City of Hillview, Kentucky ("Hillview").

       2. On January 4, 2012, defendant CAPLE and other officers from the Hillview Police

Department were contacted by an elected official and asked to check the official' s residence to see if

police officers were present at the official's residence. Defendant CAPLE and other Hillview

Officers traveled to the official's residence to investigate.

       3 . When defendant CAPLE and the other officers arrived, they discovered a backpack

containing a suspected mobile methamphetamine lab on the official's property.

       4 . When defendant CAPLE learned that the suspected mobile methamphetamine lab had

been discovered on the elected official' s property, CAPLE told other Hillview police officers that

the backpack containing the suspected mobile methamphetamine lab should be moved from the

location where it was discovered on the property to a location off the property.

       5. A Hillview police officer moved the backpack containing the suspected mobile

methamphetamine lab from the elected official' s property to a location behind a fence and

away from the property.
    Case 3:13-cr-00134-CRS Document 1 Filed 10/01/13 Page 2 of 6 PageID #: 2



       6. When Special Agents of the Federal Bureau of L·westigation investigating the events

surrounding the suspected mobile methamphetamine lab interviewed defendant CAPLE on April

26, 2012, CAPLE denied that the suspected mobile methamphetamine lab had been found on

the elected official's property, or that the suspected mobile methamphetamine lab had been moved

from a location on the elected official' s property to a location away from the property.

The Grand Jury charges:

                                              COUNT I

         On or about April26, 2012, in the Western District ofKentucky, Bullitt County, Kentucky,

 the defendant, GLENN A. CAPLE, did willfully and knowingly make and cause to be made

 materially false, fictitious, and fraudulent statements and representations in a matter within the

 jurisdiction of a department or agency of the United States by stating during an interview with

 Special Agents of the Federal Bureau of Investigation that a backpack, containing a suspected

 mobile methamphetamine lab, had not been found on the property of an elected official, the

 identity of whom is known to the Grand Jury, and that he, GLENN A. CAPLE, had not

 requested that an officer with the Hillview Police Department move the backpack to a location

 away from the property. The statements and representations were false because, as GLENN A.

 CAPLE then and there knew, a backpack containing a suspected mobile methamphetamine lab

 had been found on the property of the elected official, and that he, GLENN A. CAPLE, had




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    Case 3:13-cr-00134-CRS Document 1 Filed 10/01/13 Page 3 of 6 PageID #: 3



requested that an officer with the Hillview Police Department move the backpack away from 1he

.electedofficial' s property.

         In violation ofTitle 18, United States Code, Section 1001(a).

                                             A TRUE BILL.




DA.                  ctjJb_t1)
United States Attorney

DJH:TWD:LS: 9/30/13




                                                 2
   Case 3:13-cr-00134-CRS Document 1 Filed 10/01/13 Page 4 of 6 PageID #: 4



UNITED STATES OF AMERICA v. GLENN A. CAPLE

                                                     PENALTIES

Count 1: NM 5 yrs./$250,000/both/NM 3 yrs. Supervised Release

                                                         NOTICE

ANY PERSON CONVICTED OF AN OFFENSE AGAINST THE UNITED STATES SHALL BE SUBJECT TO
SPECIAL ASSESSMENTS, FINES, RESTITUTION & COSTS.


SPECIAL ASSESSMENTS

18 U.S.C. § 3013 requires that a special assessment shall be imposed for each count of a conviction of offenses committed
after November 11, 1984, as follows:

Misdemeanor:                 $ 25 per count/individual              Felony:            $1 00 per count/individual
                             $125 per count/other                                      $400 per count/other



In addition to any of the above assessments, you may also be sentenced to pay a fme. Such fme is due immediately unless
the court issues an order requiring payment by a date certain or sets out an installment schedule. You shall provide the United
States Attorney's Office with a current mailing address for the entire period that any part of the fme remains unpaid, or you
may be held in contempt of court. 18 U.S.C. § 3571,3572, 3611 , 3612

Failure to pay fine as ordered may subject you to the following:

         1. INTEREST and PENALTIES as applicable by law according to last date of offense.

                   For offenses occurring after December 12, 1987:

                   No INTEREST will accrue on fmes under $2,500.00.

                   INTEREST will accrue according to the Federal Civil Post-Judgment Interest Rate in
                   effect at the time of sentencing. This rate changes monthly. Interest accrues from the
                   first business day following the two week period after the date a fine is imposed.

                   PENALTIES of:

                   10% of fme balance if payment more than 30 days late.

                   15% offme balance if payment more than 90 days late.

         2.        Recordation of a LIEN shall have the same force and effect as a tax lien.

         3.        Continuous GARNISHMENT may apply until your fme is paid.

         18 U.S.C. §§ 3612, 3613

                   If you WILLFULLY refuse to pay your fme, you shall be subject to an
                   ADDITIONAL FINE of not more than the greater of $10,000 or twice the unpaid
                   balance of the fme; or IMPRISONMENT for not more than 1 year or both. 18 U.S.C.
                   § 3615
    Case 3:13-cr-00134-CRS Document 1 Filed 10/01/13 Page 5 of 6 PageID #: 5



RESTITUTION

Ifyou are convicted of an offense under Title 18, U.S.C., or under certain air piracy offenses, you may also be ordered to
make restitution to any victim of the offense, in addition to, or in lieu of any other penalty authorized by law. 18 U.S.C. §
3663

APPEAL

If you appeal your conviction and the sentence to pay your fme is stayed pending appeal, the court shall require:

         1.        That you deposit the entire fme amount (or the amount due under an installment
                   schedule during the time of your appeal) in an escrow account with the U.S . District
                   Court Clerk, or

         2.        Give bond for payment thereof.

         18   u.s.c. § 3572(g)

PAYMENTS

If you are ordered to make payments to the U.S. District Court Clerk's Office, certified checks or money orders should be
made payable to the Clerk, U.S. District Court and delivered to the appropriate division office listed below:

                   LOUISVILLE:                 Clerk, U.S. District Court
                                               106 Gene Snyder U.S. Courthouse
                                               601 West Broadway
                                               Louisville, KY 40202
                                               502/625-3500

                   BOWLING GREEN:              Clerk, U.S. District Court
                                               120 Federal Building
                                               241 East Main Street
                                               Bowling Green, KY 42101
                                               270/393-2500

                   OWENSBORO:                  Clerk, U.S. District Court
                                               126 Federal Building
                                               423 Frederica
                                               Owensboro, KY 42301
                                               270/689-4400

                   PADUCAH:                    Clerk, U.S. District Court
                                               127 Federal Building
                                               501 Broadway
                                               Paducah, KY 42001
                                               270/415-6400

If the court fmds that you have the present ability to pay, an order may direct imprisonment until payment is made.
Case 3:13-cr-00134-CRS Document 1 Filed 10/01/13 Page 6 of 6 PageID #: 6
            FORMDBD-34
            JUN.85


             No.
                                                                          OCT 0 1 2013
               UNITED STATES DISTRICT COURT
                              Western District of Kentucky
                                   Louisville Division

                     THE UNITED STATES OF AMERICA
                                                vs.
                                    GLENN A. CAPLE




                                    INDICTMENT
            Title 18 U.S.C. § lOOl(a):
            Making False and Fraudulent Material
            Statements and Representations.


            A true bill.




            Filed in open court this 1st day, of October, A.D. 2013.


                                                                  Clerk

            Bail,$
